Case 4:04-cv-02688-JEJ Document 200-3 Filed 09/21/05 Page 1 of 1

EXHIBITS TO
DEFENDANTS’ REPLY IN SUPPORT OF MOTION IN LIMINE TO
EXCLUDE THE TESTIMONY OF BARBARA FORREST, PH.D.

Curriculum Vitae of William A. Dembsk ........ ccc ceeeescceeneeeeecenneeeeseeenee Exhibit A
Excerpt from The Blind Watchmaker by Richard Dawkins..............:.eceee Exhibit B
Excerpt from Ever Since Darwin by Stephen Jay Gould ...........ceeeee Exhibit C

Excerpt from The Meaning of Evolution by George Gaylord Simpson...... Exhibit D
